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                       UNITED STATES BANKRUPTCY COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA
                             PHILADELPHIA DIVISION

 In re:
                                                            Bankruptcy No. 17-10123-elf
 Olymphia Johnson,
       Debtor                                               Chapter 13
 Nationstar Mortgage LLC d/b/a
 Champion Mortgage Company                                  Hearing Date: April 28, 2020
       Movant                                               Hearing Time: 9:30 a.m.
 v.                                                         Location: Courtroom #1
 Olymphia Johnson,
                                                            900 Market Street
        Debtor/Respondent
                                                            Philadelphia, PA 19107
 William C. Miller, Esquire
       Trustee/Respondent



                 MOTION FOR RELIEF FROM THE AUTOMATIC STAY


          Secured Creditor, Nationstar Mortgage LLC d/b/a Champion Mortgage Company,

(“Nationstar”), by and through the undersigned counsel, hereby moves this Court, pursuant to 11

U.S.C. § 362(d), for a modification of the automatic stay provisions for cause, and, in support

thereof, states the following:

   1. Debtor, Olymphia Johnson, (“Debtor”), filed a voluntary petition pursuant to Chapter 13

of the United States Bankruptcy Code on January 9, 2017.

   2. Jurisdiction of this cause is granted to the Bankruptcy Court pursuant to 28 U.S.C. §

1334, 11 U.S.C. § 362(d), Fed. R. Bankr. P. 4001(a), and all other applicable rules and statutes

affecting the jurisdiction of the Bankruptcy Courts generally.

   3. On July 19, 2010, Debtor executed and delivered a Note (“Note”) with a maximum

principal amount of $496,500.00. A true and correct copy of the Note is attached hereto as

Exhibit “A.”


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   4. The Note was secured by a Reverse Mortgage that was recorded with the Philadelphia

Recorder of Deeds on August 13, 2010 as Instrument Number: 52247935. A true and correct

copy of the Mortgage is attached hereto as Exhibit “B.”

   5. The Mortgage was secured as a lien against the Property located at 242 Christian Street,

Philadelphia, Pennsylvania 19147, (“the Property”).

   6.       The loan was lastly assigned to Nationstar Mortgage LLC D/B/A Champion

Mortgage Company and same was recorded with the Philadelphia County Recorder of Deeds on

January 6, 2017. True and correct copies of the Assignments of Mortgages are attached hereto as

Exhibit “C.”

   7. Based upon the Debtor’s Chapter 13 Amended Plan (the “Plan”), the property is included

in the plan and Debtor is curing pre-petition arrears. A true and correct copy of the Plan is

attached hereto as Exhibit “D.”

   8. Additionally, while there are no post-petition regular monthly payments due on the

reverse mortgage, the Debtor is required to maintain property taxes and homeowner’s insurance.

   9. The terms and conditions of the Note and Reverse Mortgage have been in default, and

remain in post-petition default, in the amount of $12,364.75 since December 16, 2019 due to

failure to maintain taxes on the Property. See Exhibit “E.”

   10. Under Section 362(d)(1) of the Code, the Court shall grant relief from the automatic stay

for “cause” which includes a lack of adequate protection of an interest in property. Sufficient

“cause” for relief from the stay under Section 362(d)(1) is established where a debtor has failed

to make installment payments or payments due under a court-approved plan, on a secured debt,

or where the Debtor has no assets or equity in the Mortgaged Property.




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   11. As set forth herein, Debtor has defaulted on her secured obligation as she has failed to

maintain her taxes on the Property.

   12. As a result, cause exists pursuant to 11 U.S.C. § 362(d) of the Code for this Honorable

Court to grant relief from the automatic stay to allow Nationstar, its successor and/or assigns to

pursue its state court remedies, including the filing of a foreclosure action.

   13. Additionally, once the stay is terminated, the Debtor will have minimal motivation to

insure, preserve, or protect the collateral; therefore, Nationstar requests that the Court waive the

14-day stay period imposed by Fed.R.Bankr.P. 4001(a)(3).

       WHEREFORE, Secured Creditor, Nationstar Mortgage LLC d/b/a Champion Mortgage

Company, respectfully requests this Honorable Court enter an order modifying the automatic

stay under 11 U.S.C. § 362(d) to permit Nationstar Mortgage LLC d/b/a Champion Mortgage

Company to take any and all steps necessary to exercise any and all rights it may have in the

collateral described herein, to gain possession of said collateral, to seek recovery of its

reasonable attorneys’ fees and costs incurred in this proceeding, to waive the 14-day stay

imposed by Fed.R.Bankr.P. 4001(a)(3), and for any such further relief as this Honorable Court

deems just and appropriate.


                                                      Respectfully Submitted,

                                                       Robertson, Anschutz & Schneid, P.L.
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                                                       Phone: 470-321-7112 x 286
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                                                       By:/s/ Harold N. Kaplan
                                                       Harold N. Kaplan, Esquire
                                                       PA Bar Number 38110
                                                       Email: hkaplan@rasnj.com

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